UNITED STATES OF AMERICA

Brin. Cet

Government:

1,
2.

10,

Defense Counsel: kom Le LY? Vfrupy
/haurcon Sshan.Lplha,

Case 3:20-cr-00007-KRG Document 270 Filed 06/19/20 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

Cr, No. F220 -C/- 7
Ndse MY ASIYL

)
)
)
) Magistrate Judge Keith A. Pesto

MAGISTRATE JUDGE’S REPORT OF ARRAIGNMENT |

 

 

- AUSA
Date of Arraignment: L/, UG / ZO2b
Defendant is: / / incarcerated.
on bond.

 

Defendant entered a plea of _not guilty .
The parties were advised that all pretrial motions must filed within forty-five (45) days.

A Rule 16 conference: has been held.
Xx has not been held.
Discovery is completed not completed,
Defendant has requested to be tried by: Jury
Non-Jury

All parties have been advised that the matter:
has been scheduled for trial for

x has not been scheduled for trial.

has not been scheduled for trial, but will be notified,

Estimated trial length: TBp .
Defendant: x has been processed by U.S. Marshal.

has not been processed by U.S. Marshal, but has been
advised to be processed,

Keith A, Pesto
United States Magistrate Judge
